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   FUJIWARA AND ROSENBAUM, LLLC

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   Attorneys for Plaintiff
   PRESTON LEE

                      IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF HAWAII

    PRESTON LEE,                          ) CIVIL NO.
                                          ) (Other Civil Action)
                       Plaintiff,         )
                                          ) COMPLAINT; DEMAND FOR JURY
                vs.                       ) TRIAL
                                          )
    L3HARRIS TECHNOLOGIES, INC.;
    JOHNDOES 1-10; JA        =10;
    DOE CORPORATIONS 1-10; DOE
    PARTNERSHIPS 1-10; DOE
    UNINCORPORATED
    ORGANIZATIONS
    1-10; and DOE GOVERNMENTAL
    AGENCIES 1-10,
                                          )
                                          )
                       Defendants.        )
                                          )
                                          )

                                     COMPLAINT

         COMES NOW PlaintiffPRESTONLEE [hereinafter referred to as "MR.




                                    EXHIBIT 3
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   LEE"] and complains against the above-namedDefendants alleges and avers as

   follows:

                                I. NATURE OF CASE

                1.    The basis of this L3HARRIS TECHNOLOGIES, INC. is

   employment discrimination law violations as related to 1VIR. LEE's employment at

   L3HARRIS TECHNOLOGIES, INC. [hereinafterreferredto as "L3"].

                                  II. JURISDICTION

                2.    MR. LEE brings this action pursuant, including, but not limited

   to, the Americans With Disabilities Act ["ADA"] and Hawaii Revised Statutes

   ["HRS"] Chapter 378 Part I, Discriminatory Practices, to obtain full and complete

   relief and to redress the tortious conduct describedherein.

               3.     At all times relevantherein, MR. LEE was a resident of the

   County of Kaua'i, State of Hawaii.

               4.     At all times relevantherein, Defendant L3 is an employer

   within the meaning of HRS Chapter 378. L3 was and is doing business in the

   County of Kaua'i, State of Hawaii.

               5.     At all times relevantherein, Defendant L3's is a for-profit

   business incorporated in the State of Delaware.

               6.     Upon information and belief, and at all times relevant herein;

   Defendant L3's employees, agents and/or representatives, were actingwithin the


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   course and scope oftheir duties as employees, agents and/or representatives of L3;

   therefore, L3 is liable for the intentional and/ortortious and/orwrongful conduct of

   said employees, agents and/or representatives pursuant to the doctrine of

   Respondeat Superior and/orprinciples ofAgency.

               7.     Defendants JOHN DOES 1=100, JANE DOES .1-100, DOE

   CORPORATIONS 1-10, DOE PARTNERSHIPS 1-10; DOE

   UNINCORPORATED ORGANIZATIONS 1-10, and DOE GOVERNMENTAL

   AGENCIES 1-10 are sued herein underfictitious names because theirtrue names,

   identities and capacities are unknown to the MR. LEE, except that they are

   connected in some manner with Defendants, and are/were agents, servants,

   employees, employers, representatives, co-ventarers, associates, or independent

   contractors of Defendants herein, and were actingwith the permission and consent

   and within the course and scope of said agency and employment and/or were in

   some manner presently unknown to the1VI_R. LEE engaged in the activities alleged

   herein and/orwere in someway responsible forthe injuries or damages to the MR.

   LEE, which activities were a proximate cause of said injuries or damages to the

   MR. LEE. MR. LEE has made good faith and diligent efforts to.identify said

   Defendants, including interviewing individuals with knowledge of the claims

   herein. At such time as their true names and identities become known, the MR.

   LEE will amend this Complaint accordingly.


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                8.     All Defendants will be collectively referred to as

   "DEFENDANTS".

                9.     All events done by DEFENDANTS described herein occurred

   within the County of Kaua' i, State of Hawai' i, and within the jurisdiction and

   venue of this Court.

                             III. STATEMENT OF FACTS

                10. MR. LEE was hired on March 20, 1994 to work on the Flight

   Line at the time ITT Industries was the main contractor for the United States Navy

   at Barking Sands.

                11. MR. LEE worked on the Flight Line as a helicopter inspector.

                12. MR. LEE never had any performance issues related to his

   ability to perform his job duties.

                13. In November 2006, MR. LEE became a painter.

                14. L3 took over the United States Navy contract MR. LEE worked

   under from ITT Industries in or about 2015.

                15. MR. LEE had the position of Painter.

                16. MR. LEE is a combat veteran and was diagnosed with Post-

   Traumatic Stress Disorder in February 2019.

                17. Iri February 2019,MR. LEE received 100% VA disability due

   to his PTSD.


                                            ie
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                18. L3 became aware of MR. LEE's disability via L3 Lead Sean

   Igne on or about February 2019,

                19.   Since being diagnosedwith PTSD, MR. LEE was harassed and

   unfairly disciplined.

                20.   L3 Lead Sean Igne told L3's human resources-that he was

   afraid to work with MR. LEE because of MR. LEE's PTSD.

                21.   Mr. Igne asked MR. LEE why he doesn't just retire.

                22.   MR. LEE told Mr. Igne it was none of his business.

                23.   In or about March 2019, L3 Rigging Shop Lead Mark Vegas

   went to tlieirunion meeting and asked how can MR. LEE be working if he had

   100% disability for PTSD.

                24.   Tony Pereira, L3 Lead Electrician, then stated: Wait a minute,

   Preston has 100% PTSD disability then he is a liability for the company. We have

   to inform the company because if he snaps the company will get sued. They have

   to let him go.

                25.   Upon information andbelief, Mr. Vegas helpedMr. Igne write

   letters to L3 to falsely portrayMR. LEE in a negative light.

                26.   In March 2019, MR. LEE was told by his supervisor, Rodney

   Martin, to go to the human resources ("HR") at 9:00 a.m.

                27.   MR. LEE did as instructed and metwith JulieBroyles head of


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   L3 HR and Jasmine Apo an L3 HR representative.

               28.    At the meeting, Ms. Broyles confirmed shewas aware of MR.

   LEE's PTSD.

               29.   Ms. Boynes began to ask MR. LEE a series of questions listed

   below related to his PTSD as Ms. Apo took notes.

               30.   Ms. Broyles stated because of your PTSD we have to ask you

   some questions.

               31.   Ms. Broyles stated we have to ask you these questions because

   we are here to help you.

               32.   Ms. Broyles asked, amongst other questions:

                         a. Do you want to hurt your coworkers? MR. LEE
                              Answered, "No."
                         b. Do you want to hurt yourself? MR. LEE Answered,
                              "No."
                         c. Do you want to kill your coworkers? MR. LEE
                              Answered, "No."
                         d. Do you want to kill yourself? MR. LEE Answered, "No."
                         e. Do you have an anger problem? MR. LEE Answered,


                         f. Do you want to kill people when you get angry? MR.
                              LEE Answered, "No."
                         g. Do you need anger. management classes? MR. LEE
                              Answered, "No."


                                          ~
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                          h. Do you need a psychiatrist? MR. LEEAnswered, "No."
                          i. Do you have a drug problem? MR. LEE Answered,
                             «No."
                          j. Do you have an alcohol problem? MR. LEE Answered,
                             "No."
                33.   MR. LEE asked them if they were trying to fre him and.Ms.

   Broyles and Ms. Apo said they were there tolielp MR: LEE.

                34.   After MR. LEE was called in and interviewed by HR,. he spoke -

   with L3's Bill Nordmeier, the operator for grounds deparhnent, who also had just.

   received 100% VA disability for his back.

                35.   Due to the way MR. LEE was questioned by HR after getting

   his 100% disability from the federal government, Mr. Nordmeier went to L3 HR to

   inform them that he also got his 100% disability.

                36.   Mr. Nordmeier went to L3 HR and disclosed that he had

   received 100% disability from the federal government and wanted to disclose it to

   U.

                37.   HR at L3 told Mr. Nordmeier that he doesn't need to disclose it

   and that he shouldn't talk about his disability at work as it was personal.

                38.   On or about April 9, 2019, MR. LEE was calledby L3's Scott

   Taylor and MR. LEE reported to Mr. Taylor about Mr. Tgne stealing the gasoline.

                39.   On or aboutNovember 15, 2019, MR. LEE's coworkerGilbert
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   Castro was written up for not wearingprotective gear.

                40.   After lunch on the same date, Mr. Igne yelled at MR. LEE to

   put on pants which MR. LEE complied with.

                41.   MR. LEE was power washing at that time and was wearing

   shorts because he was soaking wet.

                42.   MR. LEE was wearing steel toedrubberboots.

                43.   At that time,lVlr. Igne was also wearing shorts and tennis shoes.

                44.   Mr. Igne wore shorts andtennis shoes nearly every day at work.

                45.   Based on information andbelief, Mr. Ignetold human

   resources/management via a note/letter that MR. LEE had previously been written

   up for not wear his pants. This was not true.

                46.   Based.on information andbelief, Mr. Ignetold human

   resources/management that MR. LEE yelled at or got aggressive with Mr. Igne

   when Mr. Igne asked 1VIR. LEE to put his pants on. This was a lie.

                47. - On the same date, MR. LEE told Mr. Igne, "Tomorrow if I have

   to wear long pants, you have to wear long pants. If I have to wear steel toe shoes

   you liave to wear steel toe shoes. What is good for one is good for all. So come

   tomorrow moming have your PPE or else."

                48.   Mr. Igne said, "Or else what, you going tuni me in?"

                49.   MR. LEE respond, "Yeah"


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                  50.   Mr. Igne: "Well, fuck you"

                  51.   MR. LEE "Well fuck you too."

                  52.   Mr. Igne and MR. LEE exchanged a couple more "fuck yous"

   and MR. LEE realized it was wrong and walked away:

                  53.   The following work day, MR. LEE was called into Mr..

   Martin's regarding a letter/note that Mr. Igne wrote to human

   resources/mariagement regarding the previous day's confrontation with MR. LEE.

                  54.   MR. LEE was told Mr. Igne reported via the aforementioned

   note/letter that MR. LEE was previously written by the safetylady for not his

   wearing pants. This was not true.

                  55.   Mr. Martin asked why wasn't MR. LEE wearing his pants after

   he had already beeri written up by tlie safety lady previously?

                  56.   MR. LEE responded, "Lnever got written up."

                  57.   Mr. Martin was surprised and said, "What?"

                  58.   MR. LEE said, "Yeah, I never got written up. Gilbert got

   written up"

                  59.   Mr. Martin looked at the letter andtold MR. LEE he better not

   lie.
                  60.   Mr. Martin again asked MR. LEE if he got written up by the

   safety lady previously and MR. LEE emphatically said no.


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                 61.    MR. LEE had not been written up by the safety lady. There are

    multiple witnesses to this fact.

                 62.    During this meeting MR. LEE told Mr. Martin, "How can he

    tell me to put on long pants when he is wearing shorts andtennis shoes?"

                 63.    Wearing shorts andtennis shoes on the jobsite is a clear OSHA

    safety violation that Mr. Martin clearly had been aware of for years.

                 64.   Mr. Martin said he was going to investigate this.

                 65.   Mr. Lee stated, "Why am I always being investigated. Why

    don't you investigate Mr. Igne.

                 66.   To note, previously in or about October 2018, Mr. Igne lied to

    Mr. Martin andstatedMR. LEE walkedup to Mr. Ignewith clenchedfists acted

    like he was going to attack Mr. Igne andsayinghe was going to kick Mr. Igne's

    ass after work.

                 67.   This. was proven to be a lie by the two witnesses preserit.

                 68.   MR. LEE asked Mr. Martin to write up Mr. Igne for lying

    regarding the October 2018 incident andMr. Martin did nothing.

                 69.   On November 18, 2019, MR. LEE had a meeting with human

    recourses and Mr. Martin regarding the confrontation with Mr. Igne.

                 70.   MR. LEE was told he was written up for breaking the code of

    conduct for tellingMr. Igne fuckyou.


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                    71.   MR. LEE responded, "I said fuck you because he told me fuck

    you."

                    72.   MR. LEE then said: "You guys are always investigating me for

    this and investigating me for that."

                    73.   MR. LEE left he said why is he being investigated when others

    are not.

                    74.   MR. LEE said if they wanted to investigate something; you

    should investigate Mr. Igne for stealing gas.

                    75.   MR. LEE reported that every Tuesday and Thursday for years

    Mr. Igne would take 5 gallons of gas for personal vehicle via a gas container.

                    76.   This could have easily been investigated and confirmed via the

    amount of gas Mr. Igne was using for his company vehicle compared to the

    amount for gas he used.

                    77.   MR. LEE told them he had to immediatelytake stress leave and

    that he couldnot worlc under these conditions.

                    78.   1VIR. LEE went to see his doctor that every day to be placed on

    stress leave.

                    79.   MR. LEE's stress leave was effective November 21, 2020.

                    80.   On December 5, 2019, Ross West, the L3 project manager

    called MR. LEE and requestedhis CAC card and secret clearance card.


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                 81.    MR. LEE was directed by Mr. West to give his CAC card and

    secret clearance card to Mr. West and if he wasn't there then give it to his

    secretary.

                 82.    MR. LEE objected and said that was not proper as the CAC

    card and the secret clearance card were national securityrelateditems that need to

    be secure at all times.

                 83.    MR. LEE did not think he should give such items to Mr. West.

                 84.    Following Mr. West's directive, MR. LEE brought the CAC

    card and secret clearance card on December 6; 2020 to Mr. West's office.

                 85.   As Mr. West was not there; Mr. LEE did as directed and left his

    CAC and his secret clearance card with Mr. West's secretary.

                 86.   This was a clear national securityviolation as MR. LEE should

    have been directed to provide the CAC card and secret clearance card to the L3

    securityto safeguardthose security sensitiveitems.

                 87.   There were other L3 empioyees who were on stress leave that

    did not have their CAC cards and clearance cards removed by L3

                 88.   On or about April 1, 2020, MR. LEE was ready to come back to

    work from stress leave.

                 89.   He was told by human recourse to stay home and he would be

    paid his full wages.


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                  90.    On June 22, 2020, MR. LEE was issued his termination letter

     that does not indicate why he was terminated.

                  91.    MR. LEE was never told why exactly he was terminated.

                  92.    On February 27, 2020, MR. LEE timely filed his EEOC and

     Hawai'i Civil Rights Commission Charge of Discrimination for disability

     discrimination and retaliation.

                  93.    On or about August 19, 2020, MR. LEE received his Right to

     Sue letter from the EEOC.

                                     COUNT I
                       DISABILITY DISCRIMINATION (ADA)
                  94. MR. LEE incorporates paragraphs 1 through 93 as though fully

     set forth herein.

                  95. An employer shall not discriminate against an employee based on

     disability under the Americans with Disabilities Act

                  96.    L3's conduct as described abov.e is a violation of the ADA.

                  97.    The aforementioned acts and/or conduct of the L3 entitles MR.

     LEE to damages as provided by law. As a direct and proximate result of said

     unlawful employmentpractices MR. LEE.has sufferedextreme mental ariguish,

     outrage, depression, great humiliatioii, severe anxiety about his future and his

     ability to supporthimselt as well as painful embarrassmentamonghis relatives

     and friends, damage to his good reputation, disruption of his personal life, loss of


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    enjoyment of the ordinary pleasures of everyday life and other general damages in

    an amountwhich meets the minimal jurisdictional limits of this Court.

                                       COUNT II
                                     RETALIATION

                 98. MR. LEE -incorporates paragraphs 1 through 97 as though fully

    set forth herein.

                 99. The treatment of MR. LEE, as described aforesaid, evidences

    retaliation against MR. LEE at L3 for complaining of discrimination at the L3.

                 100. It shall be unlawful discriminatory practice for an employer to

    retaliate against an individual under the ADA.

                 101. The L3's conduct as described above is a violation of the ADA.

     These aforementioned acts and/or conduct of the L3 entitle MR. LEE to damages

     as provided by law. As a direct and proximate result of said unlawful erriployment

     practices 1VIR. LEE has suffered extreme mental anguish, outrage, depression,

     great humiliation, severe anxiety abouthis future and his ability to support

     himself, as w.ell as painful embanassment among his relatives and friends, .

     damage to his good reputation, disruption of his,personal life, loss of enjoyment of

     the ordinary pleasures of everyday life and other general damages in an amount

     which meets the minimal jurisdictional limits of this Court.

                          . COUNT III
    VIOLATION OF HRS 378 PART V WHISTLEBLOWERS' PROTECTION
                               ACT

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                 .102. MR. LEE incorporates paragraphs 1 through 101 as though

    fully set forth herein.

                 103.         The treatment of MR. LEE, as described aforesaid,

    evidences retaliation against MR. LEE at L3 for reporting illegal practices at U.

                 104. An employer shall not retaliate against an employee based on

    their whistleblowing under HRS, § 378-62 which states in pertinentpart as

    follows:

                 § 378-62: An employer shall not discharge, threaten or
                 otherwise discriminate against an employee. ..because:

                        (1)     The employee... reports or is about to report
                                to the employer...verbally or in writing, a
                                violation or suspected violation of:

                        (A) A law, rule, ordinance, or regulation, adopted
                            pursuant to the law of this State, a political
                            subdivision of the State or theUnited States;

                 105. L3's conduct as described above is a violation of HRS § 378-

    62(1)(A). These aforementioned acts and/or conduct of L3 entitle MR. LEE to

    damages as provided by law. As a direct and proximate result of saidunlawful

    employmentpractices MR. LEE has suffered extreme mental anguish, outrage,

    depressiori, great humiliation; severe anxiety about his future and her ability to

    support himself, as well as painful embarrassment among his relatives andfriends,

    damage to his good reputation, disruption of his personal life, loss:of enjoyment of


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    the ordinary pleasures of everyday life and other general damages in an amount

    which meets the minimal jurisdictional limits of this Court

                                      PRAYER FOR RELIEF

                 WHEREFORE, MR. LEE respectfully prays that this Court enter

    judgment granting the following relief on all causes of action:

                A.    That this Court enter a declaratory judgment that L3 have

    violated the rights of MR. LEE;

                B.    That this Court award MR. LEE special damages for the

    aforementioned Counts;

                 C.   That this Court award MR. LEE compensatory damages,

    proximately caused by L3 illegal conduct, including, but not limited to, general

    damages for emotional distress in an amount to be proven at trial;

                D.     As L3's treatment of MR. LEE, as aforesaid, constitutes

    extreme and outrageous behavior which exceeds all bounds usually tolerated by

    decent society. In committingthe above acts and omissions, L3 acted wantonly

    and/or oppressively and/or with suchmalice as implies a spirit of mischief or

    criminal indifference to civil obligations and/or there has been some willful

    misconduct that demonstrates that entire want of care which would raise the

    presumption of a conscious indifference to consequences, justifying an award of

    punitive or exemplary damages in an amount to be proven at trial, that this Court


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    award MR. LEE exemplary or punitive damages in an amountto be proven at trial;

                 E.     That this Court award MR. LEE reasonable attorney's fees and

    costs of suit herein-as well as prejudgment and post judgment interest;

                 F.      That this Court order appropriate injunctive relief;

                 G.     That this Court retain jurisdiction over this action until L3 has

    fully complied with the order of this Court and that th'is Court require L3 to file

    such reports as may be necessary to secure compliance;

                 H.     That this Court award MR. LEE such other and further relief

    both legal and equitable as this Court deems just, necessary and proper under the

    circumstances.

                 DATED: Honolulu, Hawaii, November 13, 2020

                                                    /s/ Joseph T. Rosenbaum
                                                    ELIZABETH JUBIN FUJIWARA
                                                     JOSEPH T. ROSENBAUM
                                                    Attomeys for Plaintiff
                                                    PRESTON LEE




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                      IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII
    PRESTON LEE,                           ) CIVIL NO.
                                           ) (Other Civil Action)
                       Plaintift           )
                                           1 DEMAND FOR JURY TRIAL
               ►~~~

    L3HARRIS TECHNOLOGIES, INC.;
    JOHNDOES 1-10; JANE DOES 1-10;
    DOE CORPORATIONS 1-10; DOE,
    PARTNERSHIPS 1-10; DOE
    UNINCORPORATED
    ORGANIZATIONS
    1-10; and DOE GOVERNMENTAL
    AGENCIES 1-10,


                       Defendants.



                             DEMAND. FOR JURY TRIAL

               Plaintiffherebydemands trialby jury on all issues so triable herein.

         DATED:        Honolulu, Hawaii, November 13,.2020.

                                                 /s/ Joseph T. Rosenbaum
                                                 ELIZABETH JUBIN FUJIWARA
                                                  JOSEPH T. ROSENBAUM
                                                 Attorneys for Plaintiff
                                                 PRESTON LEE ,




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   Case 1:20-cv-00489-LEK-KJM Document 6 Filed 11/23/20 Page 1 of 1 PagelD #: 25


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                                                    SU11ZMONS IN A CIVIL ACTION

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                                           Corporation Service Company
                                           1003 BISHOP S1'REET
                                           S.,UITE 160Q PAUAHI TOWER
                                           HONOLULU, Haw.aii 96813`
                                           UNITED STATES

          A. lawsuit Iias been filed against you.

          Within 21 days after service' of this sumrnons on,you (not°counting thc day you, received c' t) or 60 days if you
ta e tlieUnited States o~• a Lhuted States agency, or an officer or employee of ,the Uriited States desctibed in Fed. R. Crv.
                       you must servc on tiieplaintiff aia answer to, the attac.hed .complaint or a motion under Rule 12;;of
tlie redei•al Rules of Civil Procedure.. Tiie answer :oi• n3otion: must:be scived. on thc plaintiff oa plaintiff's attorney,
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wliosc ne.am :and address ace:        ELIZABETH,JUBIN FUJIWARA 3558°
                                      JOSEPH:T. ROSENBAUIVI'92U5
                                      1'1Q6 Alakea'St:, Zot1i Fl:;Ste'B
                                      Honolulu; Harva'ii`96813


       lfyou fail to 'resporid,,judgiiient by, default ~-vi1l be entai•ed ngainst you for tlie relief demaaded in tlie colriplaint:
You also must file yoiir ansi,ver~'or inotion with the 'court..


                                                                                CLERK OF CO.URT

         -November 23,- 2020                                                    /s/,1Vlichelte Rynne; C1erk by ~A, Deputy Clerk
Oate:
                                                                                          3ignaliu•e of Cler'k,or, Depitl}+ Clerk
